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 CULLEN AND DYKMAN LLP
 100 Quentin Roosevelt Boulevard
 Garden City, New York 11530
 (516) 357-3700
 C. Nathan Dee, Esq.
 Elizabeth M. Aboulafia, Esq.

 Counsel to Navillus Tile, Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
                                                                  :
In re:                                                            : Chapter 11
                                                                  :
NAVILLUS TILE, INC., DBA NAVILLUS                                 : Case No. 17-13162 (SHL)
CONTRACTING                                                       :
                                                                  :
                            Debtor.                               :
                                                                  :
------------------------------------------------------------------x

                                NOTICE OF FILING OF EXHIBITS

         PLEASE TAKE NOTICE that on August 20, 2018, Navillus Tile, Inc. d/b/a Navillus

 Contracting (“Navillus”), the above-captioned debtor and debtor-in-possession filed the Motion

 for Entry of an Order (I) Conditionally Approving Disclosure Statement; (II) Scheduling

 Combined Hearing; (III) Establishing a Voting Record Date; (IV) Approving Solicitation

 Packages and Procedures for Distribution Thereof; (V) Approving the Official Committee of

 Unsecured Creditors’ Solicitation Letter in Support of Confirmation of the Plan; (VI) Approving

 the Form of Ballot and Establishing Procedures for Voting on the Plan; (VII) Approving the

 Form of Notice to Non-Voting Classes Under the Plan; (VIII) Approving the Form of Notice of

 the Combined Hearing; (IX) Establishing Notice and Objection Procedures for Confirmation of

 the Plan; (X) Setting Related Deadlines; and (XI) Authorizing the Filing of Omnibus Assumption

 Motion (the “Motion”) [Docket No. 589].
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       PLEASE TAKE FURTHER NOTICE that annexed hereto is a clean version and

blackline revised version of the Proposed Order (Exhibit A to the Motion), a clean version and

blackline revised version of the Form of Ballot (Exhibit B to the Motion), and the Official

Committee of Unsecured Creditors’ Solicitation Letter (Exhibit C to the Motion).



Dated: Garden City, New York                       CULLEN AND DYKMAN LLP
       August 24, 2018
                                                   By: s/ Elizabeth M. Aboulafia
                                                   C. Nathan Dee, Esq.
                                                   Elizabeth M. Aboulafia, Esq.
                                                   100 Quentin Roosevelt Boulevard
                                                   Garden City, NY 11530
                                                   Counsel to Navillus Tile, Inc.
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                                     EXHIBIT A

                                   Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                   :
In re:                                                             : Chapter 11
                                                                   :
NAVILLUS TILE, INC., DBA NAVILLUS                                  : Case No. 17-13162 (SHL)
CONTRACTING                                                        :
                                                                   :
                                                                   :
------------------------------------------------------------------ x
       ORDER (I) CONDITIONALLY APPROVING DISCLOSURE STATEMENT; (II)
   SCHEDULING COMBINED HEARING; (III) ESTABLISHING A VOTING RECORD
   DATE; (IV) APPROVING SOLICITATION PACKAGES AND PROCEDURES FOR
    DISTRIBUTION THEREOF; (V) APPROVING THE OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS’ SOLICITATION LETTER IN SUPPORT OF
     CONFIRMATION OF THE PLAN; (VI) APPROVING THE FORM OF BALLOT
        AND ESTABLISHING PROCEDURES FOR VOTING ON THE PLAN; (VII)
   APPROVING THE FORM OF NOTICE TO NON-VOTING CLASSES UNDER THE
        PLAN; (VIII) APPROVING THE FORM OF NOTICE OF THE COMBINED
   HEARING; (IX) ESTABLISHING NOTICE AND OBJECTION PROCEDURES FOR
         CONFIRMATION OF THE PLAN; (X) SETTING RELATED DEADLINES;
         (XI) AUTHORIZING THE FILING OF OMNIBUS ASSUMPTION MOTION;
   AND (XII) ALLOWING UNION PARTIES CURE CLAIMS FOR VOTING PURPOSES

           Upon the motion (the “Motion”) 1 of Navillus Tile, Inc., d/b/a Navillus Contracting, the

above-captioned debtor and debtor-in-possession (“Navillus” or the “Debtor”), by and through

its attorneys, Cullen and Dykman LLP, pursuant to sections 105(d), 1125, 1126, and 1128 of

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 3017,

3018, 3020 and 9006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

and Rules 3017-1, 3018-1, and 3020-1 of the Local Rules of the United States Bankruptcy Court

for the Southern District of New York (the “Local Rules”), seeking entry of an order (i)

conditionally approving the First Amended Disclosure Statement with Respect to Chapter 11 Plan

of Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under Chapter 11 of the

Bankruptcy Code (the “Disclosure Statement”); (ii) scheduling a combined hearing (the “Combined


1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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Hearing”) on final approval of the Disclosure Statement and confirmation of the First Amended

Chapter 11 Plan of Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under

Chapter 11 of the Bankruptcy Code (the “Plan”); (iii) establishing a voting record date (the

“Record Date”); (iv) approving solicitation packages and procedures for distribution thereof; (v)

approving the form of ballot (the “Ballot”) and establishing procedures for voting on the Plan;

(vi) approving the Official Committee of Unsecured Creditors’ letter in support of confirmation

of the Plan (the “Solicitation Letter”); (vii) approving the form of notice (the “Non-Voting

Notice”) to non-voting classes under the Plan; (viii) approving the form of notice of the

Combined Hearing (the “Combined Hearing Notice”); (ix) establishing notice of objection

procedures for final approval of the Disclosure Statement and confirmation of the Plan; (x)

setting related deadlines in this chapter 11 case; and (xi) authorizing the filing of one or more

omnibus motions to assume executory contracts or unexpired leases (each, an “Omnibus

Assumption Motion”) prior to the date of the Combined Hearing; and it appearing that this Court

has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing

that venue of this chapter 11 case and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. §

157(b); and this Court having found that proper and adequate notice of the Motion and the relief

requested therein has been provided in accordance with the Bankruptcy Rules, and that no other

or further notice is necessary; and after due deliberation thereon; and good and sufficient cause

appearing therefor;

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on to the extent set forth herein.




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       2.      The Disclosure Statement filed by Navillus is hereby conditionally approved

pursuant to section 105(d) of the Bankruptcy Code.

       3.      The proposed form of Ballot, substantially in the form attached hereto as Exhibit

A, is approved to be distributed to holders of Claims in Class 4 (Union Parties Cure Claims) and

Class 5 (General Unsecured Claims) (collectively, the “Voting Classes”).

       4.      The Solicitation Letter, substantially in the form attached hereto as Exhibit B, is

hereby approved to be included in the Solicitation Packages.

       5.      The form of Non-Voting Notice, substantially in the form attached hereto as

Exhibit C, is approved to be distributed to the holders in Claims or Equity Interests in Class 1

(Article 3A Claims), Class 2 (Other Secured Claims), Class 3 (Other Priority Claims), and Class

6 (Equity Interests) (collectively, the “Non-Voting Parties”).

       6.      The Notice of Combined Hearing (the “Combined Hearing Notice”), substantially in

the form attached hereto as Exhibit D, is hereby approved.

       7.      Within two (2) business days of entry of this Order, Navillus’ voting agent, Garden

City Group, LLC (the “Voting Agent”) shall transmit, or cause to be transmitted, by first class

mail to holders of Claims in the Voting Classes a solicitation package (the “Solicitation

Package”) containing: (i) a copy of this Order (without exhibits); (ii) the Combined Hearing

Notice; (iii) the Disclosure Statement (with the Plan annexed thereto); (iv) the Solicitation Letter;

and (v) form of Ballot and pre-addressed return envelope.

       8.      Navillus shall be authorized to make non-substantive changes to the Disclosure

Statement, Plan, Ballots, the Combined Hearing Notice, and any other notice related to the Plan

or Disclosure Statement and all exhibits and appendices to any of the foregoing without further

order of the Court, including, without limitation, changes to correct typographical and



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grammatical errors and to make conforming changes among the Disclosure Statement, the Plan

and any other materials in the Solicitation Package prior to their distribution.

       9.      Within two (2) business days of entry of this Order, the Voting Agent shall

transmit, or cause to be transmitted, by first class mail to each of the Non-Voting Parties: (i) the

Combined Hearing Notice; and (ii) the Non-Voting Notice.

       10.     To be counted as a vote to accept or reject the Plan, each Ballot must be properly

executed, completed, and delivered to the Voting Agent by: (i) first class mail, in the return

envelope provided; (ii) overnight courier; or (iii) personal delivery so that it is actually received

by the Voting Agent no later than September 27, 2018 at 5:00 p.m. (EST) (the “Voting

Deadline”).

                                 If sent in the envelope provided
                                 or by overnight courier or
                                 personal delivery:

                                 Navillus Tile, Inc.
                                 c/o GCG
                                 5151 Blazer Parkway, Suite A
                                 Dublin, Ohio 43017

                                 If sent via first class mail:

                                 Navillus Tile, Inc.
                                 c/o GCG
                                 P.O. Box 10446
                                 Dublin, Ohio 43017-4046


       11.     For purposes of voting on the Plan, with respect to all creditors, the following

procedures shall apply to determine the amount of a claim used to tabulate acceptances or

rejections of the Plan, as set forth in Section VIII.B of the Disclosure Statement:

               (a)     Disputed Filed Claims. With regard to a Claim that is the subject of an
               objection filed at least twenty-five (25) days prior to the Voting Deadline, such
               Claim will be Disallowed provisionally for voting purposes, except to the extent

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               and in the manner that (i) Navillus agrees that the Claim should be allowed for
               voting purposes in its objection to such Claim; or (ii) such Claim is allowed
               temporarily for voting purposes in accordance with Bankruptcy Rule 3018
               pursuant to a motion filed at least twenty (20) days prior to the Voting Deadline.

               (b)    Claims Estimated for Voting Purposes. With respect to a Claim that has
               been estimated or otherwise allowed for voting purposes by order of the
               Bankruptcy Court, the amount and classification of such Claim will be that set by
               the Court.

               (c)     Wholly Unliquidated Claims. A Claim filed as wholly unliquidated,
               contingent and/or undetermined will be accorded one vote, valued at one dollar,
               for the purposes of section 1126(c) of the Bankruptcy Code, unless the Claim is
               disputed as set forth in (a) above.

               (d)     Late Claims. With respect to a Claim as to which a Proof of Claim has not
               been timely filed (i.e., was filed after the Bar Date), the voting amount of such
               Claim (subject to any applicable limitations set forth below) will be equal to the
               amount listed, if any, in respect of such Claim in the Schedules, to the extent such
               Claim is not listed as Contingent, unliquidated, or Disputed, unless the Claim is
               disputed as set forth in (a) above. If such Claim is either not listed in the
               Schedules, or is listed as Contingent, unliquidated or Disputed, then the Claim
               respecting such Proof of Claim will be Disallowed provisionally for voting
               purposes.

               (e)     Duplicate Claim. A creditor will not be entitled to vote its Claim to the
               extent such Claim duplicates or has been superseded by another Claim of such
               creditor.

               (f)     Undisputed Scheduled Claims. With respect to a Claim that appears on
               the Schedules as undisputed, noncontingent and liquidated, and as to which no
               objection has been filed at least twenty-five (25) days prior to the Voting
               Deadline, the amount and classification of such Claim shall be that specified in
               the Schedules unless superseded by an undisputed Proof of Claim.

               (g)     Bankruptcy Court Determined Claims. With respect to a Claim for which
               an order has been entered reducing, reclassifying or allowing, the amount and
               classification of the Claim shall be that specified in such order.


       12.     The following voting procedures and standard assumptions shall apply for

purposes of tabulating Ballots, as set forth in Section VIII.B of the Disclosure Statement:




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               (a)     For the purpose of voting on the Plan, the Voting Agent will be deemed to
               be in constructive receipt of any Ballot timely delivered to the address designated
               for the receipt of Ballots cast on the Plan;

               (b)     Any Ballot received by the Voting Agent after the Voting Deadline shall
               not be counted;

               (c)     Pursuant to Bankruptcy Rule 3018(a), whenever a holder of a Claim
               submits more than one Ballot voting the same Claim prior to the Voting Deadline,
               the last such Ballot sent and received shall count unless such holder has sufficient
               cause within the meaning of Bankruptcy Rule 3018(a) to submit, or Navillus
               consents to the submission of, a superseding Ballot;

               (d)     The Ballot shall be deemed filed in the amount of a filed Claim, and if no
               Claim has been filed, in the amount of the Claim as specified in the Schedules, as
               long as the Claim is listed in the Schedules as undisputed, non-contingent or
               liquidated; otherwise, the Ballot shall not be counted;

               (e)    If a holder of a Claim casts simultaneous duplicative Ballots voted
               inconsistently, then such Ballots shall not be counted;

               (f)     The authority of the signatory of each Ballot to complete and execute the
               Ballot shall be presumed;

               (g)    Any Ballot that is not signed shall not be counted;

               (h)  Any Ballot received timely by the Voting Agent by electronic
               communication (i.e. email) or facsimile will not be counted;

               (i)     A holder of a Claim must vote all of its Claims within a particular Class
               under the Plan either to accept or reject the Plan and may not split its vote.
               Accordingly, a Ballot that partially rejects and partially accepts the Plan, or that
               indicates both a vote for and against the Plan, will not be counted;

               (j)    Any Ballot that is timely received and executed but does not indicate
               whether the holder of the relevant Claim is voting for or against the Plan shall not
               be counted;

               (k)    Navillus may waive any defects or irregularities as to any particular Ballot
               at any time, either before or after the Voting Deadline; provided, however, that
               any such waivers shall be documented in the Voting Certification filed by the
               Voting Agent with the Court; and

               (l)     No person, including Navillus and the Voting Agent, will be under any
               duty to provide notification of defects or irregularities with respect to delivered
               Ballots, nor will any of them incur any liability for failure to provide such
               notification.


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       13.     The proofs of claim filed by the Union Parties, including without limitation proofs

of claim no. 25, 26, 34, 77 and 98 that were subject to Debtor’s First Omnibus Objection Seeking

to Disallow and Expunge Claims (Union Wage Claims/Insufficient Documentation) (Dkt. No.

274) and proofs of claim no. 24, 27, 28, 53 and 126 (amending proof of claim no. 30) that were

subject to Debtor’s Fifth Omnibus Objection Seeking to Disallow and Expunge Claims

(Incorrect Classification/Insufficient Documentation Union Benefit Claims) (Dkt. No. 353) are

hereby allowed for voting purposes only as general unsecured Class 4 Union Parties Cure Claims

under the Plan.

       14.     Any party seeking to temporarily allow a claim for purposes of voting to accept or

reject the Plan shall file a motion pursuant to Bankruptcy Rule 3018(a) for an order temporarily

allowing its Claim for purposes of voting to accept or reject the Plan not less than twenty (20)

days before the Voting Deadline. As to any creditor filing such a motion, such creditor’s Ballot

should not be counted unless allowed by the Court for voting purposes, after notice and a

hearing, pursuant to an order entered at least six (6) days prior to the Voting Deadline or as

otherwise directed by the Court.

       15.     On or before October 1, 2018, the Voting Agent shall certify in writing (the

“Voting Certification”) the amount and number of Allowed Claims in the Voting Classes that

vote to accept or reject the Plan, and shall file the Voting Certification via ECF and serve the

Voting Certification upon: (i) the Court; (ii) the U.S. Trustee; and (iii) counsel to the Committee.

       16.     The Combined Hearing for final approval of the Disclosure Statement and for

confirmation of the Plan shall be held on October 4, 2018, at 11:00 a.m. (EST), or as soon

thereafter as counsel may be heard, before the Honorable Sean H. Lane, United States Bankruptcy




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Judge, in Courtroom 701 of the United States Bankruptcy Court for the Southern District of New

York, One Bowling Green, New York, New York 10004.

       17.     Any objections to the adequacy of the Disclosure Statement or to confirmation of the

Plan shall (a) be in writing; (b) state with particularity the grounds therefore and include, when

possible, proposed language for amending the Plan or Disclosure Statement to resolve such

objection; (c) be filed electronically with the Clerk of the Bankruptcy Court with a courtesy copy

delivered to Chambers; and (d) be served with a hard copy mailed to (i) counsel to the Navillus,

Cullen and Dykman LLP, Attn: C. Nathan Dee, Esq. and Elizabeth M. Aboulafia, Esq., 100

Quentin Roosevelt Blvd., Garden City, New York 11530; (ii) the Office of the United States

Trustee for the Southern District of New York, 201 Varick Street, Room 1006, New York, New

York 10014, Attn: Paul Schwartzberg, Esq.; and (iii) the attorneys for the Committee, Hahn &

Hessen LLP, 488 Madison Avenue, New York, New York 10022, Attn: Mark T. Power, Esq., so

as to be received no later than September 27, 2018 at 5:00 p.m. (EST).

       18.     The deadline for filing and service of replies or an omnibus reply to any

objections to confirmation of the Plan shall be October 1, 2018.

       19.     Navillus is authorized to submit written direct testimony by proffer in lieu of

direct examination in connection with the evidence to be presented at the Combined Hearing.

       20.     Navillus is authorized to file one or more Omnibus Assumption Motions in

accordance with the procedures set forth in Bankruptcy Rule 6006(f) prior to the date of the

Combined Hearing.

       21.     With respect to addresses from which notices in this Chapter 11 Case have been

returned by the United States Postal Service as undeliverable, Navillus is excused from mailing

Solicitation Packages or other notice to entities listed at such addresses unless Navillus is



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provided with accurate addresses for such entities prior to twenty (20) days before the Combined

Hearing.

        22.     The procedures set forth in this Order are adequate and proper notice to all parties

in interest and no other or further notice need be provided.

        23.     The Court shall retain jurisdiction to hear and determine all matters arising from

or related to this Order.


Dated: ________, 2018
       New York, New York

                                              _______________________________________
                                              THE HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                              : Chapter 11
                                                                     :
 NAVILLUS TILE, INC., DBA NAVILLUS                                   : Case No. 17-13162 (SHL)
 CONTRACTING                                                         :
                                                                     :
                                                                     :
---------------------------------------------------------------------x
        ORDER (I) CONDITIONALLY APPROVING DISCLOSURE STATEMENT; (II)
   SCHEDULING COMBINED HEARING; (III) ESTABLISHING A VOTING RECORD
    DATE; (IV) APPROVING SOLICITATION PACKAGES AND PROCEDURES FOR
    DISTRIBUTION THEREOF; (V) APPROVING THE OFFICIAL COMMITTEE OF
           UNSECURED CREDITORS’ SOLICITATION LETTER IN SUPPORT OF
      CONFIRMATION OF THE PLAN; (VI) APPROVING THE FORM OF BALLOT
         AND ESTABLISHING PROCEDURES FOR VOTING ON THE PLAN; (VII)
    APPROVING THE FORM OF NOTICE TO NON-VOTING CLASSES UNDER THE
         PLAN; (VIII) APPROVING THE FORM OF NOTICE OF THE COMBINED
    HEARING; (IX) ESTABLISHING NOTICE AND OBJECTION PROCEDURES FOR
      CONFIRMATION OF THE PLAN; (X) SETTING RELATED DEADLINES; AND
          (XI) AUTHORIZING THE FILING OF OMNIBUS ASSUMPTION MOTION;                                                     Formatted: No underline
   AND (XII) ALLOWING UNION PARTIES CURE CLAIMS FOR VOTING PURPOSES

           Upon the motion (the “Motion”)1 of Navillus Tile, Inc., d/b/a Navillus Contracting, the

above-captioned debtor and debtor-in-possession (“Navillus” or the “Debtor”), by and through

its attorneys, Cullen and Dykman LLP, pursuant to sections 105(d), 1125, 1126, and 1128 of

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 3017,

3018, 3020 and 9006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

and Rules 3017-1, 3018-1, and 3020-1 of the Local Rules of the United States Bankruptcy Court

for the Southern District of New York (the “Local Rules”), seeking entry of an order (i)

conditionally approving the First Amended Disclosure Statement with Respect to Chapter 11 Plan

of Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under Chapter 11 of the

Bankruptcy Code (the “Disclosure Statement”); (ii) scheduling a combined hearing (the “Combined
1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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Hearing”) on final approval of the Disclosure Statement and confirmation of the First Amended

Chapter 11 Plan of Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under

Chapter 11 of the Bankruptcy Code (the “Plan”); (iii) establishing a voting record date (the

“Record Date”); (iv) approving solicitation packages and procedures for distribution thereof; (v)

approving the form of ballot (the “Ballot”) and establishing procedures for voting on the Plan;

(vi) approving the Official Committee of Unsecured Creditors’ letter in support of confirmation

of the Plan (the “Solicitation Letter”); (vii) approving the form of notice (the “Non-Voting

Notice”) to non-voting classes under the Plan; (viii) approving the form of notice of the

Combined Hearing (the “Combined Hearing Notice”); (ix) establishing notice of objection

procedures for final approval of the Disclosure Statement and confirmation of the Plan; (x)

setting related deadlines in this chapter 11 case; and (xi) authorizing the filing of one or more

omnibus motions to assume executory contracts or unexpired leases (each, an “Omnibus

Assumption Motion”) prior to the date of the Combined Hearing; and it appearing that this Court

has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing

that venue of this chapter 11 case and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. §

157(b); and this Court having found that proper and adequate notice of the Motion and the relief

requested therein has been provided in accordance with the Bankruptcy Rules, and that no other

or further notice is necessary; and after due deliberation thereon; and good and sufficient cause

appearing therefor;

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on to the extent set forth herein.




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       2.      The Disclosure Statement filed by Navillus is hereby conditionally approved

pursuant to section 105(d) of the Bankruptcy Code.

       3.      The proposed form of Ballot, substantially in the form attached hereto as Exhibit

A, is approved to be distributed to holders of Claims in Class 4 (Union Parties Cure Claims) and

Class 5 (General Unsecured Trade Claims) (collectively, the “Voting Classes”).

       4.      The Solicitation Letter, substantially in the form attached hereto as Exhibit B, is

hereby approved to be included in the Solicitation Packages.

       5.      The form of Non-Voting Notice, substantially in the form attached hereto as

Exhibit C, is approved to be distributed to the holders in Claims or Equity Interests in Class 1

(Article 3A Claims), Class 2 (Other Secured Claims), Class 3 (Other Priority Claims), and Class

6 (Equity Interests) (collectively, the “Non-Voting Parties”).

       6.      The Notice of Combined Hearing (the “Combined Hearing Notice”), substantially in

the form attached hereto as Exhibit D, is hereby approved.

       7.      Within two (2) business days of entry of this Order, Navillus’ voting agent, Garden

City Group, LLC (the “Voting Agent”) shall transmit, or cause to be transmitted, by first class

mail to holders of Claims in the Voting Classes a solicitation package (the “Solicitation

Package”) containing: (i) a copy of this Order (without exhibits); (ii) the Combined Hearing

Notice; (iii) the Disclosure Statement (with the Plan annexed thereto); (iv) the Solicitation Letter;

and (v) form of Ballot and pre-addressed return envelope.

       8.      Navillus shall be authorized to make non-substantive changes to the Disclosure

Statement, Plan, Ballots, the Combined Hearing Notice, and any other notice related to the Plan

or Disclosure Statement and all exhibits and appendices to any of the foregoing without further

order of the Court, including, without limitation, changes to correct typographical and



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grammatical errors and to make conforming changes among the Disclosure Statement, the Plan

and any other materials in the Solicitation Package prior to their distribution.

       9.      Within two (2) business days of entry of this Order, the Voting Agent shall

transmit, or cause to be transmitted, by first class mail to each of the Non-Voting Parties: (i) the

Combined Hearing Notice; and (ii) the Non-Voting Notice.

       10.     To be counted as a vote to accept or reject the Plan, each Ballot must be properly

executed, completed, and delivered to the Voting Agent by: (i) first class mail, in the return

envelope provided; (ii) overnight courier; or (iii) personal delivery so that it is actually received

by the Voting Agent no later than September 27, 2018 at 5:00 p.m. (EST) (the “Voting

Deadline”).

                                 If sent in the envelope provided
                                 or by overnight courier or
                                 personal delivery:

                                 Navillus Tile, Inc.
                                 c/o GCG
                                 5151 Blazer Parkway, Suite A
                                 Dublin, Ohio 43017

                                 If sent via first class mail:

                                 Navillus Tile, Inc.
                                 c/o GCG
                                 P.O. Box 10446
                                 Dublin, Ohio 43017-4046


       11.     For purposes of voting on the Plan, with respect to all creditors, the following

procedures shall apply to determine the amount of a claim used to tabulate acceptances or

rejections of the Plan, as set forth in Section VIII.B of the Disclosure Statement:

               (a)     Disputed Filed Claims. With regard to a Claim that is the subject of an
               objection filed at least twenty-five (25) days prior to the Voting Deadline, such
               Claim will be Disallowed provisionally for voting purposes, except to the extent

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               and in the manner that (i) Navillus agrees that the Claim should be allowed for
               voting purposes in its objection to such Claim; or (ii) such Claim is allowed
               temporarily for voting purposes in accordance with Bankruptcy Rule 3018
               pursuant to a motion filed at least twenty (20) days prior to the Voting Deadline.

               (b)    Claims Estimated for Voting Purposes. With respect to a Claim that has
               been estimated or otherwise allowed for voting purposes by order of the
               Bankruptcy Court, the amount and classification of such Claim will be that set by
               the Court.

               (c)     Wholly Unliquidated Claims. A Claim filed as wholly unliquidated,
               contingent and/or undetermined will be accorded one vote, valued at one dollar,
               for the purposes of section 1126(c) of the Bankruptcy Code, unless the Claim is
               disputed as set forth in (a) above.

               (d)     Late Claims. With respect to a Claim as to which a Proof of Claim has not
               been timely filed (i.e., was filed after the Bar Date), the voting amount of such
               Claim (subject to any applicable limitations set forth below) will be equal to the
               amount listed, if any, in respect of such Claim in the Schedules, to the extent such
               Claim is not listed as Contingent, unliquidated, or Disputed, unless the Claim is
               disputed as set forth in (a) above. If such Claim is either not listed in the
               Schedules, or is listed as Contingent, unliquidated or Disputed, then the Claim
               respecting such Proof of Claim will be Disallowed provisionally for voting
               purposes.

               (e)     Duplicate Claim. A creditor will not be entitled to vote its Claim to the
               extent such Claim duplicates or has been superseded by another Claim of such
               creditor.

               (f)     Undisputed Scheduled Claims. With respect to a Claim that appears on
               the Schedules as undisputed, noncontingent and liquidated, and as to which no
               objection has been filed at least twenty-five (25) days prior to the Voting
               Deadline, the amount and classification of such Claim shall be that specified in
               the Schedules unless superseded by an undisputed Proof of Claim.

               (g)     Bankruptcy Court Determined Claims. With respect to a Claim for which
               an order has been entered reducing, reclassifying or allowing, the amount and
               classification of the Claim shall be that specified in such order.


       12.     The following voting procedures and standard assumptions shall apply for

purposes of tabulating Ballots, as set forth in Section VIII.B of the Disclosure Statement:




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        (a)     For the purpose of voting on the Plan, the Voting Agent will be deemed to
        be in constructive receipt of any Ballot timely delivered to the address designated
        for the receipt of Ballots cast on the Plan;

        (b)     Any Ballot received by the Voting Agent after the Voting Deadline shall
        not be counted;

        (c)     Pursuant to Bankruptcy Rule 3018(a), whenever a holder of a Claim
        submits more than one Ballot voting the same Claim prior to the Voting Deadline,
        the last such Ballot sent and received shall count unless such holder has sufficient
        cause within the meaning of Bankruptcy Rule 3018(a) to submit, or Navillus
        consents to the submission of, a superseding Ballot;

        (d)     The Ballot shall be deemed filed in the amount of a filed Claim, and if no
        Claim has been filed, in the amount of the Claim as specified in the Schedules, as
        long as the Claim is listed in the Schedules as undisputed, non-contingent or
        liquidated; otherwise, the Ballot shall not be counted;

        (e)    If a holder of a Claim casts simultaneous duplicative Ballots voted
        inconsistently, then such Ballots shall not be counted;

        (f)     The authority of the signatory of each Ballot to complete and execute the
        Ballot shall be presumed;

        (g)    Any Ballot that is not signed shall not be counted;

        (h)  Any Ballot received timely by the Voting Agent by electronic
        communication (i.e. email) or facsimile will not be counted;

        (i)     A holder of a Claim must vote all of its Claims within a particular Class
        under the Plan either to accept or reject the Plan and may not split its vote.
        Accordingly, a Ballot that partially rejects and partially accepts the Plan, or that
        indicates both a vote for and against the Plan, will not be counted;

        (j)    Any Ballot that is timely received and executed but does not indicate
        whether the holder of the relevant Claim is voting for or against the Plan shall not
        be counted;

        (k)    Navillus may waive any defects or irregularities as to any particular Ballot
        at any time, either before or after the Voting Deadline; provided, however, that
        any such waivers shall be documented in the Voting Certification filed by the
        Voting Agent with the Court; and

        (l)     No person, including Navillus and the Voting Agent, will be under any
        duty to provide notification of defects or irregularities with respect to delivered
        Ballots, nor will any of them incur any liability for failure to provide such
        notification.


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       13.     The proofs of claim filed by the Union Parties, including without limitation proofs

of claim no. 25, 26, 34, 77 and 98 that were subject to Debtor’s First Omnibus Objection Seeking

to Disallow and Expunge Claims (Union Wage Claims/Insufficient Documentation) (Dkt. No.

274) and proofs of claim no. 24, 27, 28, 53 and 126 (amending proof of claim no. 30) that were

subject to Debtor’s Fifth Omnibus Objection Seeking to Disallow and Expunge Claims

(Incorrect Classification/Insufficient Documentation Union Benefit Claims) (Dkt. No. 353) are

hereby allowed for voting purposes only as general unsecured Class 4 Union Parties Cure Claims

under the Plan.

       13.14. Any party seeking to temporarily allow a claim for purposes of voting to accept or

reject the Plan shall file a motion pursuant to Bankruptcy Rule 3018(a) for an order temporarily

allowing its Claim for purposes of voting to accept or reject the Plan not less than twenty (20)

days before the Voting Deadline. As to any creditor filing such a motion, such creditor’s Ballot

should not be counted unless allowed by the Court for voting purposes, after notice and a

hearing, pursuant to an order entered at least six (6) days prior to the Voting Deadline or as

otherwise directed by the Court.

       14.15. On or before October 1, 2018, the Voting Agent shall certify in writing (the

“Voting Certification”) the amount and number of Allowed Claims in the Voting Classes that

vote to accept or reject the Plan, and shall file the Voting Certification via ECF and serve the

Voting Certification upon: (i) the Court; (ii) the U.S. Trustee; and (iii) counsel to the Committee.

       15.16. The Combined Hearing for final approval of the Disclosure Statement and for

confirmation of the Plan shall be held on October 4, 2018, at 11:00 a.m. (EST), or as soon

thereafter as counsel may be heard, before the Honorable Sean H. Lane, United States Bankruptcy




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Judge, in Courtroom 701 of the United States Bankruptcy Court for the Southern District of New

York, One Bowling Green, New York, New York 10004.

       16.17. Any objections to the adequacy of the Disclosure Statement or to confirmation of the

Plan shall (a) be in writing; (b) state with particularity the grounds therefore and include, when

possible, proposed language for amending the Plan or Disclosure Statement to resolve such

objection; (c) be filed electronically with the Clerk of the Bankruptcy Court with a courtesy copy

delivered to Chambers; and (d) be served with a hard copy mailed to (i) counsel to the Navillus,

Cullen and Dykman LLP, Attn: C. Nathan Dee, Esq. and Elizabeth M. Aboulafia, Esq., 100

Quentin Roosevelt Blvd., Garden City, New York 11530; (ii) the Office of the United States

Trustee for the Southern District of New York, 201 Varick Street, Room 1006, New York, New

York 10014, Attn: Paul Schwartzberg, Esq.; and (iii) the attorneys for the Committee, Hahn &

Hessen LLP, 488 Madison Avenue, New York, New York 10022, Attn: Mark T. Power, Esq., so

as to be received no later than September 27, 2018 at 5:00 p.m. (EST).

       17.18. The deadline for filing and service of replies or an omnibus reply to any

objections to confirmation of the Plan shall be October 1, 2018.

       18.19. Navillus is authorized to submit written direct testimony by proffer in lieu of

direct examination in connection with the evidence to be presented at the Combined Hearing.

       19.20. Navillus is authorized to file one or more Omnibus Assumption Motions in

accordance with the procedures set forth in Bankruptcy Rule 6006(f) prior to the date of the

Combined Hearing.

       20.21. With respect to addresses from which notices in this Chapter 11 Case have been

returned by the United States Postal Service as undeliverable, Navillus is excused from mailing

Solicitation Packages or other notice to entities listed at such addresses unless Navillus is



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provided with accurate addresses for such entities prior to twenty (20) days before the Combined

Hearing.

        21.22. The procedures set forth in this Order are adequate and proper notice to all parties

in interest and no other or further notice need be provided.

        22.23. The Court shall retain jurisdiction to hear and determine all matters arising from

or related to this Order.


Dated: ________, 2018
       New York, New York

                                              _______________________________________
                                              THE HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE




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                                    EXHIBIT B

                                   Form of Ballot
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------- x
                                                                   :
In re:                                                             : Chapter 11
                                                                   :
NAVILLUS TILE, INC., DBA NAVILLUS                                  : Case No. 17-13162 (SHL)
CONTRACTING                                                        :
                            Debtor.                                :
                                                                   :
------------------------------------------------------------------ x

               BALLOT ACCEPTING OR REJECTING CHAPTER 11 PLAN

                               CLASS __ - [____________________]

        This ballot (the “Ballot”) is submitted to you to solicit your vote to accept or reject the
First Amended Chapter 11 Plan of Reorganization of Navillus Tile, Inc., d/b/a Navillus
Contracting Under Chapter 11 of the Bankruptcy Code (including all exhibits thereto and as the
same may be amended, modified or supplemented from time to time, the “Plan”) as described in
the related First Amended Disclosure Statement with Respect to Chapter 11 Plan of
Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under Chapter 11 of the
Bankruptcy Code (including all exhibits thereto and as the same may be amended, modified or
supplemented from time to time, the “Disclosure Statement”) conditionally approved by order
of the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”). The Court’s conditional approval of the Disclosure Statement does not indicate
approval of the Plan by the Court. The Disclosure Statement provides information to assist you
in deciding how to vote your Ballot. If you do not have a Disclosure Statement, you may obtain
a copy from the Voting Agent, Garden City Group, LLC, at the address listed below. You
should review the Disclosure Statement and the Plan before you vote. You may wish to seek
independent legal advice concerning the Plan and your classification and treatment under the
Plan. Capitalized terms used in this Ballot that are not otherwise defined have the meanings
given to them in the Plan.

         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if
it is accepted by each class of creditors and holders of equity interests which is impaired under
the Plan. Each impaired class of creditors may accept the Plan if the holders of at least two-
thirds (2/3) in amount and more than one half (1/2) in number of the allowed claims which vote
on the Plan vote to accept the Plan, and if the Plan otherwise satisfies the applicable
requirements of section 1129(a) under title 11 of the United States Code (the “Bankruptcy
Code”). If the requisite acceptances are not obtained, the Bankruptcy Court nonetheless may
confirm the Plan if it finds that the Plan (a) provides fair and equitable treatment to, and does not
unfairly discriminate against, the Class or Classes rejecting the Plan and (b) otherwise satisfies
the requirements of section 1129(b) of the Bankruptcy Code.

       To have your vote counted, you must complete, sign, and return this Ballot with original
signature to the Voting Agent as follows:
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               If sent in the envelope provided
               or by overnight courier or personal delivery:

               Navillus Tile, Inc.
               c/o GCG
               5151 Blazer Parkway, Suite A
               Dublin, Ohio 43017

               If sent via first class mail:

               Navillus Tile, Inc.
               c/o GCG
               P.O. Box 10446
               Dublin, Ohio 43017-4046


so that it is actually received by 5:00 p.m. Eastern Standard Time on September 27, 2018. Any
Ballots received after such time shall not be counted.

      PLEASE READ THE PROCEDURES FOR VOTING ON THE PLAN AND
     COMPLETING THIS BALLOT AS SET FORTH IN SECTION VIII.B OF THE
                      DISCLOSURE STATEMENT.

  PLEASE COMPLETE ITEMS 1 AND 2. IF THIS BALLOT IS NOT SIGNED ON THE
   APPROPRIATE LINES, THIS BALLOT WILL NOT BE VALID OR COUNTED AS
                          HAVING BEEN CAST.

Item 1. Class Vote. The undersigned, a holder of a Class ____ Claim in the amount set forth
below, votes to (check one box):

                      Accept the Plan                          Reject the Plan



Creditor Name:                                 Claim Amount: $
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Item 2. Acknowledgments. By signing this Ballot, the undersigned acknowledges receipt of
the Plan, Disclosure Statement and the other applicable solicitation materials and certifies that
the undersigned is the claimant and has the power and authority to vote to accept or reject the
Plan on behalf of the claimant. The undersigned understands that an otherwise properly
completed, executed and timely returned Ballot failing to indicate either acceptance or rejection
of the Plan or indicating both acceptance and rejection of the Plan will not be counted.




                                                                Name of Creditor


                                                                    Signature


                                                     If by Authorized Agent, Name and Title


                                                               Name of Institution


                                                                 Street Address


                                                              City, State, Zip Code


                                                               Telephone Number


                                                                 Date Completed
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------- x
                                                                   :
In re:                                                             : Chapter 11
                                                                   :
NAVILLUS TILE, INC., DBA NAVILLUS                                  : Case No. 17-13162 (SHL)
CONTRACTING                                                        :
                            Debtor.                                :
                                                                   :
------------------------------------------------------------------ x

               BALLOT ACCEPTING OR REJECTING CHAPTER 11 PLAN

                               CLASS __ - [____________________]

        This ballot (the “Ballot”) is submitted to you to solicit your vote to accept or reject the
First Amended Chapter 11 Plan of Reorganization of Navillus Tile, Inc., d/b/a Navillus
Contracting Under Chapter 11 of the Bankruptcy Code (including all exhibits thereto and as the
same may be amended, modified or supplemented from time to time, the “Plan”) as described in
the related First Amended Disclosure Statement with Respect to Chapter 11 Plan of
Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under Chapter 11 of the
Bankruptcy Code (including all exhibits thereto and as the same may be amended, modified or
supplemented from time to time, the “Disclosure Statement”) conditionally approved by order
of the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”). The Court’s conditional approval of the Disclosure Statement does not indicate
approval of the Plan by the Court. The Disclosure Statement provides information to assist you
in deciding how to vote your Ballot. If you do not have a Disclosure Statement, you may obtain
a copy from the Voting Agent, Garden City Group, LLC, at the address listed below. You
should review the Disclosure Statement and the Plan before you vote. You may wish to seek
independent legal advice concerning the Plan and your classification and treatment under the
Plan. Capitalized terms used in this Ballot that are not otherwise defined have the meanings
given to them in the Plan.

         The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if
it is accepted by each class of creditors and holders of equity interests which is impaired under
the Plan. Each impaired class of creditors may accept the Plan if the holders of at least two-
thirds (2/3) in amount and more than one half (1/2) in number of the allowed claims which vote
on the Plan vote to accept the Plan, and if the Plan otherwise satisfies the applicable
requirements of section 1129(a) under title 11 of the United States Code (the “Bankruptcy
Code”). If the requisite acceptances are not obtained, the Bankruptcy Court nonetheless may
confirm the Plan if it finds that the Plan (a) provides fair and equitable treatment to, and does not
unfairly discriminate against, the Class or Classes rejecting the Plan and (b) otherwise satisfies
the requirements of section 1129(b) of the Bankruptcy Code.

       To have your vote counted, you must complete, sign, and return this Ballot with original
signature to the Voting Agent as follows:
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               If sent in the envelope provided
               or by overnight courier or personal delivery:

               Navillus Tile, Inc.
               c/o GCG
               5151 Blazer Parkway, Suite A
               Dublin, Ohio 43017

               If sent via first class mail:

               Navillus Tile, Inc.
               c/o GCG
               P.O. Box 10446
               Dublin, Ohio 43017-4046


so that it is actually received by 5:00 p.m. Eastern Standard Time on September 27, 2018. Any
Ballots received after such time shall not be counted.

      PLEASE READ THE PROCEDURES FOR VOTING ON THE PLAN AND
     COMPLETING THIS BALLOT AS SET FORTH IN SECTION VIII.B OF THE
                      DISCLOSURE STATEMENT.

  PLEASE COMPLETE ITEMS 1 AND 3 AND, IF YOU CHOOSE NOT TO VOTE, YOU
      MAY COMPLETE ITEM 2. IF THIS BALLOT IS NOT SIGNED ON THE
   APPROPRIATE LINES, THIS BALLOT WILL NOT BE VALID OR COUNTED AS
                          HAVING BEEN CAST.

Item 1. Class Vote. The undersigned, a holder of a Class ____ Claim in the amount set forth
below, votes to (check one box):

                      Accept the Plan                          Reject the Plan



Creditor Name:                                 Claim Amount: $


Item 2. Releases. COMPLETE THIS ITEM 2 ONLY IF YOU DID NOT VOTE TO
EITHER ACCEPT OR REJECT THE PLAN IN ITEM 1 ABOVE. PURSUANT TO THE
PLAN, IF YOU RETURN A BALLOT AND VOTE TO ACCEPT THE PLAN, YOU ARE
AUTOMATICALLY DEEMED TO HAVE ACCEPTED THE RELEASE PROVISIONS IN
SECTION 12.01(c) OF THE PLAN. YOU ARE ALSO DEEMED TO HAVE ACCEPTED
THE RELEASE PROVISIONS OF SECTION 12.01(c) OF THE PLAN IF YOU DO NOT
CAST A VOTE WITH RESPECT TO THE PLAN; HOWEVER, IN THIS INSTANCE ONLY,
YOU MAY CHECK THE BOX BELOW TO REJECT THE RELEASE PROVISIONS IN THE
PLAN.
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The undersigned, the holder of a Class __ Claim in the amount set forth above, having voted to
reject or abstained from voting on the Plan:

                                Rejects the Release Provision



Item 3.




Item 2. Acknowledgments. By signing this Ballot, the undersigned acknowledges receipt of
the Plan, Disclosure Statement and the other applicable solicitation materials and certifies that
the undersigned is the claimant and has the power and authority to vote to accept or reject the
Plan on behalf of the claimant. The undersigned understands that an otherwise properly
completed, executed and timely returned Ballot failing to indicate either acceptance or rejection
of the Plan or indicating both acceptance and rejection of the Plan will not be counted.




                                                                Name of Creditor


                                                                    Signature


                                                     If by Authorized Agent, Name and Title


                                                               Name of Institution


                                                                 Street Address


                                                              City, State, Zip Code


                                                               Telephone Number
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                                       EXHIBIT C

               Official Committee of Unsecured Creditors’ Solicitation Letter
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August 27, 2018                                                                              Mark T. Power
                                                                                                    Partner
                                                                                              212.478.7350
                                                                                     mpower@hahnhessen.com


TO ALL CREDITORS OF:

                Navillus Tile, Inc., d/b/a Navillus Contracting
                Bankruptcy Case No. 17-13162 (SHL)

Dear Creditors:

This firm is counsel to the Official Committee of Unsecured Creditors (the “Committee”) of
debtor Navillus Tile, Inc., d/b/a Navillus Contracting (“Navillus”) in its bankruptcy
proceeding pending in the United States Bankruptcy Court for the Southern District of New
York. This letter is being sent to all holders of Claims entitled to vote on the accompanying
Plan. 1

PLEASE NOTE THAT THE COMMITTEE SUPPORTS THE PLAN AND
STRONGLY ENCOURAGES ALL HOLDERS OF CLAIMS IN CLASS 4 (UNION
PARTIES CURE CLAIMS) AND 5 (GENERAL UNSECURED CLAIMS) TO
TIMELY RETURN THEIR COMPLETED BALLOTS ACCEPTING THE PLAN.

Following three (3) days of formal mediation among the Committee, Navillus, Donal
O’Sullivan, Navillus’ President, Chief Executive Officer and sole director (“DOS”), and
representatives of the five union benefit funds that collectively hold an approximately
$76 million judgment (the “Judgment”) against, among others, Navillus and their
sponsoring unions (collectively, the “Union Parties”), which collectively have asserted
aggregate claims against Navillus in excess of $150 million (collectively, the “Mediation
Parties”), as well as substantial post-mediation negotiations, the Mediation Parties, with
input from Liberty Mutual Insurance Company (“Liberty”), reached a global settlement that
is embodied in the Plan.

This global settlement materially increases the funds that would otherwise be available for
distribution to general unsecured creditors and resolves all disputes between the Mediation
Parties, ending a lengthy and expensive litigation process which, if continued, would have a
severely negative impact on Navillus’ on-going business and would likely result in a
significantly reduced and delayed distribution to unsecured creditors. Under the Plan, the
Union Parties will receive approximately $25.7 million in settlement of their Judgment and
on account of various claims arising from their collective bargaining agreements with the
Debtor. General unsecured creditors will receive the lesser of (a) 10% percent of their
allowed claim or (b) their pro rata share of a $600,000 distribution fund. The Plan will be
funded by Navillus’ cash-on-hand, the proceeds of exit financing to be provided by Liberty,
and a substantial capital contribution to be provided by DOS. The Plan provides for a one-

1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Plan.


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time cash distribution to holders of allowed Union Parties Cure Claims and General
Unsecured Claims and the retention of the equity interests in Navillus by its existing equity
holders in exchange for DOS’ capital contribution and other material consideration he is
providing in connection with Liberty’s exit financing facility.

GIVEN THE EXTENSIVE NEGOTIATIONS INVOLVED IN DEVELOPING THIS
PLAN AND THE LIKELIHOOD THAT UNSECURED CREDITORS WOULD
RECEIVE SIGNIFICANTLY LESS ON THEIR ALLOWED CLAIMS IN A
CHAPTER 7 LIQUIDATION, THE COMMITTEE SUPPORTS THE PLAN AND
STRONGLY RECOMMENDS THAT YOU TIMELY RETURN YOUR COMPLETED
BALLOT ACCEPTING THE PLAN.

Accompanying this letter you will find the:

        1.      First Amended Disclosure Statement with Respect to Chapter 11 Plan of
                Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under
                Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”);

        2.      First Amended Chapter 11 Plan of Reorganization of Navillus Tile, Inc.,
                d/b/a Navillus Contracting Under Chapter 11 of the Bankruptcy Code (the
                “Plan”);

        3.      If applicable, Ballots for Class 4 (Union Parties Cure Claims) or
                Ballots for Class 5 (General Unsecured Claims), depending upon
                which Class you hold a Claim in; and

        4.      Notice of (I) Conditional Approval of Disclosure Statement;
                (II) Establishment of Voting Record Date; (III) Procedures and
                Deadline for Voting on Plan; and (IV) Hearing on Final Approval of
                Disclosure Statement and Confirmation of Plan and Procedures for
                Objecting to Confirmation of the Plan.

The Plan is an extensively negotiated consensual plan of reorganization pursuant to which
Navillus will emerge from Chapter 11 as a going concern. The information set forth in this
letter is for summary purposes only, and we urge each creditor to read the Plan and
Disclosure Statement for a full understanding of how its claims will be treated under the
Plan.

YOU ARE ENCOURAGED TO READ THE PLAN AND                                       DISCLOSURE
STATEMENT CAREFULLY BEFORE CASTING YOUR BALLOT.
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If you have any questions regarding the foregoing or the Plan, you may contact the
undersigned or Jeffrey Zawadzki, Esq. at (212) 478-7252 (jzawadzki@hahnhessen.com).


                                                          Very truly yours,



                                                          Mark T. Power
